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Proposed Attorneys for the Debtors and
Debtors in Possession

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION

                                                              )
In re:                                                        )   Chapter 11
                                                              )
AMF BOWLING WORLDWIDE, INC., et al.,                  1
                                                              )   Case No. 12-36495 (KRH)
                                                              )
                                     Debtors.                 )   (Joint Administration Requested)
                                                              )




1   The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number include: AMF Bowling Worldwide, Inc. (3272); 300, Inc. (3632); American Recreation Centers, Inc.
    (1151); AMF BCH LLC (9642); AMF Beverage Company of Oregon, Inc. (4960); AMF Bowling Centers
    Holdings Inc. (1697); AMF Bowling Centers, Inc. (1662); AMF Bowling Mexico Holding, Inc. (7931); AMF
    Holdings, Inc. (5037); AMF WBCH LLC (9643); AMF Worldwide Bowling Centers Holdings Inc. (1641);
    Boliches AMF, Inc. (9631); Bush River Corporation (7033); King Louie Lenexa, Inc. (0814); Kingpin
    Holdings, LLC (5411); and Kingpin Intermediate Corp. (5447). The location of the Debtors’ service address is:
    7313 Bell Creek Road, Mechanicsville, Virginia 23111.
                                                          1
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         ORDER AUTHORIZING THE DEBTORS TO PAY 503(B)(9) CLAIMS AND
                     MATERIALMAN’S LIENS CLAIMS

         Upon the motion (the “Motion”) of the above-captioned debtors and debtors in possession
                                               2




(collectively, the “Debtors”), for entry of an order authorizing, but not directing, the Debtors to pay

claims        held     by    the   503(b)(9)       Claimants   and    Materialman’s       Lien     Claimants

(the “Order”), all as more fully set forth in the Motion; and upon consideration of the First Day

Declaration; and the Court having found that it has jurisdiction over this matter pursuant to

28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and the Court having found that venue of this proceeding and the Motion in

this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found that the

relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and the Debtors having provided appropriate notice of the Motion and the

opportunity for a hearing on the Motion under the circumstances; and the Court having reviewed

the Motion and having heard the statements in support of the relief requested therein at a hearing

before the Court (the “Hearing”); and the Court having determined that the legal and factual bases

set forth in the Motion and at the Hearing establish just cause for the relief granted herein; and

upon all of the proceedings had before the Court; and any objections to the relief requested herein

having been withdrawn or overruled on the merits; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT:

         1.          The Motion is granted as set forth herein.

         2.          The Debtors are authorized, but not directed, to pay the prepetition amounts owed

to the 503(b)(9) Claimants in the ordinary course of the Debtors’ business, as they fall due, up to

$1.6 million, and the Materialman’s Lien Claimants, in the ordinary course of business, as they fall
2       Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
    Motion.
                                                        2
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due, up to $400,000. Such payments shall not be deemed to be a waiver of rights regarding the

extent, validity, perfection, or possible avoidance of the related liens and payments.

       3.      The banks and financial institutions on which checks were drawn, or electronic

payment requests were made in payment of prepetition obligations approved herein, are authorized

and directed to receive, process, pay, and honor all such checks and electronic payment requests

presented for payment, and all such banks and financial institutions are authorized to rely on the

Debtors’ designation of any particular check or electronic payment request as being approved by

this Order.

       4.      The Debtors are authorized to issue postpetition checks, or to effect postpetition

fund transfer requests, in replacement of any checks or fund transfer requests in respect of the

unsecured claims that are dishonored or rejected.

       5.      Each of the financial institutions at which the Debtors maintain their accounts

relating to the payment of the obligations described in the Motion is directed to honor checks

presented for payment of obligations described in the Motion and all fund transfer requests made

by the Debtors related thereto to the extent that sufficient funds are on deposit in such amounts.

       6.      Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any claim

against a Debtor entity; (b) a waiver of the Debtors’ right to dispute any claim on any grounds; (c)

a promise or requirement to pay any claim; (d) an implication or admission that any particular

claim is of a type specified or defined in this Order or the Motion; (e) a request or authorization to

assume any agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; or (f) a

waiver of the Debtors’ rights under the Bankruptcy Code or any other applicable law.




                                                    3
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       7.      Notwithstanding the relief granted in this Order, any payment made by the Debtors

pursuant to the authority granted herein shall be subject to the orders approving entry into debtor-

in-possession financing and authorizing the continued use of cash collateral.

       8.      The requirements set forth in Bankruptcy 6003(b) are satisfied.

       9.      The requirement under Local Bankruptcy Rule 9013-1(G) to file a memorandum of

law in connection with the Motion is hereby waived.

       10.     Notice of the Motion as provided therein shall be deemed good and sufficient

notice as to such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local

Bankruptcy Rules are satisfied by such notice.

       11.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

shall be immediately effective and enforceable upon its entry.

       12.     All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       13.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

       14.     The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.

Dated: Nov 13 2012
Richmond, Virginia                                     /s/ Kevin R Huennekens

                                                     UNITED STATES BANKRUPTCY JUDGE



                                                     Entered on Docket: Nov 14, 2012




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 WE ASK FOR THIS:

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 Proposed Attorneys for the Debtors and
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                      CERTIFICATION OF ENDORSEMENT
                   UNDER LOCAL BANKRUPTCY RULE 9022-1(C)

        Pursuant to Local Bankruptcy Rule 9022-1(C), I hereby certify that the foregoing
 proposed order has been endorsed by or served upon all necessary parties.

                                               /s/ Dion W. Hayes




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